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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA



SOMMER MILLER                                :          CIVIL ACTION
                                             :
               vs.                            :
                                             :
THE CITY OF PHILADELPHIA                     :         NO. 21-cv-619



                                        ORDER


               AND NOW, this 28th day of November 2022, it is hereby ORDERED that this
court's August 29, 2022, order is VACATED.

            IT IS FURTHER ORDERED that the issues between the parties in the above action
shall remain settled, pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil
Procedure of this Court (effective January 1, 1970). The matter is DISMISSED with prejudice,
pursuant to agreement of counsel without costs.



                                              BY THE COURT



                                              /s/ Carol Sandra Moore Wells
                                              CAROL SANDRA MOORE WELLS
                                              U.S. MAGISTRATE JUDGE




Civ 2 (7/83)
41.1(b)
